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              EXHIBIT 4
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                                      Fourth Amendment
                                             to the
                                 Exclusive (Equity) Agreement
                                    Effective 28 April 2014
                                            Between
                                      Stanford University
                                              And
                                    CappMed Medical, Inc.

    Pffective as of April I, 2015 (the "Amendment Effective Date"), THE BOARD OF
TRUSTEES OF THE LELAND STANFORD JUNIOR UNIVERSITY, an institution of higher
education having powers under the laws of the State of California (hereinafter "Stanford"), and
Capp Medical. Inc. (hereinafter "Capp Med"), a Delaware corporation having a primary place of
business at 14200 Shady Oak Cornt, Saratoga, CA 95070, for good and valuable consideration,
the receipt and sufficiency of which is acknowledged by the parties, agree as follows:

I. BACKGROUND

    Stanford and CappMed are parties to that certain Exclusive (Equity) Agreement effective
April 28, 2014, as amended by the Parties pursuant to a first amendment effective December 8,
2014, a second amendment effective December 19, 2014, and a third amendment effective
December 22. 2014 (such agreement, together with the amendments, collectively, the "Original
Agreement" and as fu1ther amended by this 4th Amendment (as defined below), the
·'Agreement"). Roche Molecular Systems, Inc. ("RMS"), a Delaware corporation, and CappMed
arc entering into or have entered into an agreement and plan of merger. CappMed will survive
the merger (the "Transaction"). Stanford and CappMed wish to amend and update certain terms
and conditions of the Agreement as set forth in this amendment (hereinafter "4 th Amendment").

2. DEFINITIONS

   Capitalized terms not otherwise defined herein shall have the definitions provided in the
Agreement.

   2.1. "Affiliate" means, with respect to entity, any other entity controlling, controlled by or
        under common control with such entity. for purposes of this definition and the
        Agreement, the term "control" (and correlative terms) means the power, whether by
        contract, equity ownership or otherwise, to direct the policies or management of an
        entity. In the case of RMS, for purposes of this Agreement, the term "Affiliate'' shall not
        include (a) Chugai Pharmaceutical Co., Ltd., 1-9, Kyobashi 2-chome, Chuo-ku, Tokyo,
        104-8301, Japan ("Chugai") or (b) assuming consummation of the equity purchase
        transactions currently contemplated between an Affiliate of RMS and Foundation
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         Medicine, Inc. ("Foundation"), Foundation, in each case, unless and until RMS provides
         written notice to Stanford specifying Chugai or foundation as an Affiliate of RMS.

3.   ASSIGNMENT

     3.1. Stanford hereby consents to any deemed assignment by CappMcd of the Agreement in
          connection with the Transaction and waives the conditions set forth in Section 16.3(A)
          of the Agreement with respect thereto. Stanford agrees that it shall receive the $75.000
          assignment fee set forth in Section I 6.3(C) of the Agreement within 30 days of the
          completion of the Transaction. Once such $75,000 assignment foe is paid, Stanford shall
          have no right to receive any further assignment fees in connection with the Agreement,
          including, for the avoidance of doubt, any subsequent permitted assignment.

     3.2. Effective as of the Closing, but only if the Closing occurs, RMS and CappMed agree that
          CappMcd (the surviving entity in the merger to be consummated in connection with the
          Transaction) will continue to be bound by the Agreement notwithstanding any release of
          liability of CappMecl set forth in Section 16.4 of the Agreement.

     3.3. Stanford agrees that there arc no other conditions that must be satisfied for any
          assigrm1cnt of the Agreement deemed to occur in connection with the Transaction,
          except those set forth in this 4 th Amendment.

4. AMENDMENT

     4.1. Section 16.2 of the Original Agreement is hereby amended and restated in its entirety to
          read as follows:

              "Notwithstanding anything herein lo the contrary, CappMed or any Affiliate or
              RMS to whom this Agreement is assigned in accordance with the terms hereof may
              assign this Agreement to any Affiliate of CappMed or any of RMS' s Affiliates
              ,,.ithout the consent of Stanford, provided that such assignee agrees in writing to be
              bound by this Agreement. Any attempt to assign this Agreement other than in
              accordance with the foregoing or in accordance with Section 16.1 by CappMcd or
              its permitted assignee is null and void."

     4.2. The introc.luctory language to Section 16.3 of the Original Agreement is hereby amended
          an<l restated in its entirety to read as follows:

              ··Prior to any assignment (other than any assignment to an Affiliate of Capp Med or
              an Affiliate or RMS in accordance with Section 16.2), the following conditions
              must be met:"




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5. ORIGINAL AGREEMENT TO REMAIN IN FULL FORCE AND EFFECT;
   REFERE CES
                                                   th
   5.1. The terms and provisions set forth in this 4 Amendment shall modify and supersede all
        inconsistent terms and provisions set forth in the Original Agreement and, except as
        expressly modified and superseded by this 4 th Amendment, the Original Agreement is
        ratified and confirmed in all respects and shall continue in full force and effect.

   ).2. All references in the Original Agreement to " herein," or words of like import, and all
        references to the Agreement in any agreement or document, shall hereafter be deemed to
        refer to the Agreement as amended hereby.

6. MISCELLANEOUS

   6.1. Severahility of Provisions. Any provision of this 4 th Amendment which is prohibited or
        unenforceable in any jurisdiction shall, as to such jurisdiction. be ineffective to the
        extent of such prohibition or unenforceability without invalidating the remaining
        provisions hereof or affecting the validity or enforceability of such provision in any
        other jurisdiction.

   6.2. Execution in Counterparts. This 4 th Amendment may be executed in any number of
        counterparts and by different parties hereto on separate counterparts, each of which
        counterparts, when so executed and delivered, shall be deemed to be an original and all
                                                                                       th
        of which counterpa1ts, taken together, shall constitute but one and the same 4
        Amemlment.

7. CONTINGENT ON CLOSING

   This ➔ th Amendment is contingent upon the Transaction being completed and if the
Transaction docs not occur, this 4th Amendment shall not take effect and shall be null and void.




                                     (signature page follows)




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TN WITNESS WHEREOF, the parties hereto have executed this 4 th Amendment effective as of
tht' /\mcndment Effective Date through their duly authorized officers or representatives.


TI 11 : 130/\RD OF TRUSTEES or THE LELAND
SI \NFORD JUNIOR UNIVERITY


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Name            Katharine Ku
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C/\PP MPDTCAL INC.




Name        As t ,v ll.. lL R 1-s \-1 NA'r- -1 u R.Tl q
Title           CEo
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